                   IN THE UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF COLUMBIA

ALBINA I. DEVORAK, a U.S. Citizen,

     14705 Fairway St.                      Case No. 1:18-cv-01941
     Leawood, KS 66224

and

ALBIN SABOTIC, her natural-born brother,

     Rifata Burdzevica 68
     Novi Pazar 36300 Serbia

and

EDIN SABOTIC, her natural-born brother,

     Rifata Burdzevica 68
     Novi Pazar 36300 Serbia

     Plaintiffs,

v.

UNITED STATES DEPARTMENT OF
HOMELAND SECURITY,

Serve: Office of the General Counsel
       Department of Homeland Security
       Mail Stop 3650
       Washington, D.C. 20528

UNITED STATES CITIZENSHIP AND
IMMIGRATION SERVICES,

Serve: U.S. Citizenship & Immigration
       Services
       425 I. Street, N.W., Room 6100
       Washington, D.C. 20536

UNITED STATES DEPARTMENT OF
STATE,
Serve: Executive Office
       Office of the Legal Adviser
       Suite 5.600
       600 19th St. NW
       Washington, DC 20522

U.S. CONSULATE, BELGRADE, SERBIA

Serve: Executive Office
       Office of the Legal Adviser
       Suite 5.600
       600 19th St. NW
       Washington, DC 20522

KIRSTJEN NIELSEN, Secretary of the
Department of Homeland Security,

Serve: Office of the General Counsel
       Department of Homeland Security
       Mail Stop 3650
       Washington, D.C. 20528

L. FRANCIS CISSNA, Director of the
United States Citizenship and Immigration
Services,

Serve: U.S. Citizenship & Immigration
       Services
       425 I. Street, N.W., Room 6100
       Washington, D.C. 20536

MICHAEL POMPEO, United States
Secretary of State,

Serve: Executive Office
       Office of the Legal Adviser
       Suite 5.600
       600 19th St. NW
       Washington, DC 20522

and;

KYLE SCOTT, U.S. Ambassador,
Belgrade, Serbia,

                                            2
Serve: Executive Office
       Office of the Legal Adviser
       Suite 5.600
       600 19th St. NW
       Washington, DC 20522

  Defendants.


  COMPLAINT IN THE NATURE OF MANDAMUS ARISING FROM DEFENDANTS’
   REFUSAL TO ADJUDICATE PLAINTIFFS’ IMMIGRANT VISA APPLICATION

       COME NOW Plaintiffs, Albina I. Devorak and her brothers Albin Sabotic and Edin

Sabotic, to respectfully request that this Honorable Court issue a writ of mandamus

compelling Defendants to adjudicate the brothers’ long-delayed sibling visa applications.

                                        PARTIES


   1. Plaintiff Albina I. Devorak is a naturalized citizen of the United States.

   2. Plaintiff Albin Sabotic is a citizen of Serbia who currently resides in Serbia.

   3. Plaintiff Edin Sabotic is also a citizen of Serbia who currently resides in Serbia.

   4. Defendant Department of Homeland Security (hereinafter sometimes referred to

as “the DHS”) is the agency of the United States that is responsible for implementing

the petition for alien relative provisions of the law and assisting the DOS with

background and security checks.

   5. Defendant United States Citizenship and Immigration Services (hereinafter

sometimes referred to as “the USCIS”) is the component of the DHS that is responsible

for processing petitions filed on behalf of alien relatives seeking to file sibling visa

applications.


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   6. Defendant Department of State (hereinafter sometimes referred to as “the DOS”)

is the agency of the United States that is responsible for communicating with the DHS

and managing Defendant Consulate of the United States in Belgrade, Serbia, and which

is responsible for implementing the immigrant visa provisions of the law.

   7. Defendant U.S. Consulate in Belgrade, Serbia (hereinafter sometimes referred to

as “the Belgrade Consulate”) is a component of the DOS that is responsible for

processing immigrant visa applications and implementing the immigrant and

non-immigrant visa provisions of the law.

   8. Defendant Kirstjen Nielsen, the Secretary of the DHS, is the highest ranking

official within the DHS. Nielsen, by and through her agency for the DHS, is responsible

for the implementation of the Immigration and Nationality Act (hereinafter sometimes

referred to as “the INA”), and for ensuring compliance with applicable federal law,

including the Administrative Procedures Act (hereinafter sometimes referred to as “the

APA”). Nielsen is sued in her official capacity as an agent of the government of the

United States.

   9. Defendant L. Francis Cissna, Director of the USCIS, is the highest ranking official

within the USCIS. Cissna is responsible for the implantation of the INA and for ensuring

compliance with all applicable federal laws, including the APA. Cissna is sued in his

official capacity as an agent of the government of the United States.

   10. Defendant Michael Pompeo, the U.S. Secretary of State, is the highest ranking

official within the DOS. Pompeo is responsible for the implementation of the INA and

for ensuring compliance with applicable federal laws, including the APA. Pompeo is


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sued in his official capacity as an agent of the government of the United States.

   11. Defendant Kyle Scott is the Ambassador of the U.S. Embassy in Belgrade,

Serbia. Scott is being sued in his official capacity as an agent of the government of the

United States.

                                  JURISDICTION AND VENUE

   12. This Honorable Court has federal question jurisdiction over this cause pursuant

to 28 U.S.C. § 1331, as it raises claims under the Constitution of the United States, the

INA, 8 U.S.C. § 1101 et seq., and the APA, 5 U.S.C. § 701 et seq, in conjunction with

the Mandamus Act, ​28 USC ​§ ​1361​.

   13. Venue is proper pursuant to 28 U.S.C. § 1391(e)(1) because (1) Defendants are

agencies of the United States or officers or employees thereof acting in their official

capacity or under color of legal authority; (2) no real property is involved in this action,

and; (3) the Defendants all maintain offices within this district.

   14. This Honorable Court is competent to adjudicate this case, notwithstanding the

doctrine of consular non-reviewability, ​see United States ex rel. Knauff v. Shaughnessy,​

338 U.S. 537 (1950), because Defendants have not made any decision in regard to

Albin and Edin Sabotic’s visa applications, filed by Albina Devorak.


                     FACTS COMMON TO ALL CLAIMS FOR RELIEF


   15. Albina I. Devorak is the sister of Albin and Edin Sabotic. She filed an I-130 for

her brothers in January of 2005 with Defendant USCIS.

   16. Under federal immigration law, USCIS is authorized to approve a sibling visa


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application filed by a U.S. citizen and to issue an immigrant visa to allow the sibling to

enter the U.S. and to reside here.

   17. Upon information and belief, USCIS has not adjudicated the sibling visa petitions

that Plaintiff filed in January of 2005.

   18. Plaintiffs paid, and Defendants accepted, all applicable filing and visa fees.

   19. Albina I. Devorak has made repeated attempts to obtain a decision in this matter

without involving this honorable Court. Plaintiff has made numerous service requests

and has even attempted to obtain assistance from her members of Congress. This has

led nowhere.

   20. She has received inconsistent information over the years from USCIS regarding

the status of her brothers’ case and has been unable to get the cases resolved.

                            FIRST CLAIM FOR RELIEF
           (Agency Action Unlawfully Withheld and Unreasonably Delayed)

   For their first claim for relief against all Defendants, Plaintiffs allege and state as

follows:

   21. Plaintiffs reallege and incorporate by reference the foregoing paragraphs as

though fully set out herein.

   22. The APA requires that “[w]ith due regard for the convenience and necessity of

the parties or their representatives and within a reasonable time, each agency shall

proceed to conclude a matter presented to it.” 5 U.S.C. § 555(b). Section 555(b)

creates a non-discretionary duty to conclude agency matters.             ​Litton Microwave

Cooking Prods. v. NLRB​, 949 F.2d 249, 253 (8th Cir. 1991). A violation of this duty is a



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sufficient basis for mandamus relief.

    23. The APA permits this Honorable Court to “compel agency action unlawfully

withheld or unreasonably delayed.” 5 U.S.C. § 706(1).

    24. The Defendants have refused to adjudicate Plaintiffs’ application and to issue the

requested visa application.

    25. The DOS regularly works with the DHS when carrying out background and

security investigations that are delayed by administrative processing.

    26. On information and belief, Plaintiffs allege that the Defendants are intentionally

delaying the processing of the brothers’ cases because of background checks.

    27. Plaintiffs allege that the brothers’ applications have been in administrative

processing beyond a reasonable time period for completing administrative processing of

their visa applications.

    28. The combined delay and failure to act on the brothers’ immigrant visa

applications is attributable to the failure of Defendants to adhere to their legal duty to

avoid unreasonable delays under the INA and the applicable rules and regulations.

    29. There are no alternative adequate or reasonable forms of relief available to

Plaintiffs.

    30. Plaintiffs have exhausted all administrative remedies available to them in pursuit

of a resolution of this matter, including repeatedly requesting the processing of their

case with the USCIS.

                              SECOND CLAIM FOR RELIEF
                       (Violation of Right to Due Process of Law)



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   For their second claim for relief against all Defendants, Plaintiffs allege and state as

follows:

   31. Plaintiffs reallege and incorporate by reference the foregoing paragraphs as

though fully set out herein.

   32. The right to fundamental fairness in administrative adjudication is protected by

the Due Process Clause of the Fifth Amendment to the United States Constitution.

Plaintiffs may seek redress in this Court for Defendants’ combined failures to provide a

reasonable and just framework of adjudication in accordance with applicable law.

   33. The combined delay and failure to act by Defendants has violated the due

process rights of Plaintiffs.

   34. The combined delay and failure to act by Defendants has irrevocably harmed

Plaintiffs by causing a loss of consortium between them, among other ways.

                                    REQUEST FOR RELIEF

        WHEREFORE, Plaintiffs Albina I. Devorak and her brothers Albin Sabotic and

Edin Sabotic request the following relief:

   1. That this Honorable Court assume jurisdiction over this action;

   2. That this Honorable Court issue a writ of mandamus compelling Defendants to

promptly complete all administrative processing within sixty days;

   3. That this Honorable Court take jurisdiction of this matter and adjudicate the

brothers’ immigrant visas pursuant to this Court’s declaratory judgment authority;

   4.      That this Honorable Court issue a writ of mandamus compelling Defendants to

issue an immigrant visa to each brother;


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   5. That this Honorable Court issue a writ of mandamus compelling Defendants to

explain to Plaintiffs the cause and nature of the delay and inform Plaintiffs of any action

they may take to accelerate processing of the visa application;

   6. Attorney’s fees, legal interests, and costs expended herein, pursuant to the Equal

Access to Justice Act, 28 U.S.C. § 2412;

   7. Such other and further relief as this Honorable Court may deem just and proper.

                                                          RESPECTFULLY SUBMITTED
                                                            this 18th day of August, 2018


                                                                 /s/ James O. Hacking, III
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